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            8      Attorneys for Defendant
                   NIANTIC, INC.
            9
                                              UNITED STATES DISTRICT COURT
          10                                 NORTHERN DISTRICT OF CALIFORNIA
          11                                     SAN FRANCISCO DIVISION

          12
                                                             Case No. 3:16-cv-04300-JD
          13       In re Pokémon Go Nuisance Litigation
          14                                                 JOINT NOTICE OF SETTLEMENT IN
                                                             PRINCIPLE AND REQUEST TO VACATE
          15                                                 SCHEDULE

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  COOLEY LLP                                                             JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
                                                                                AND REQUEST TO VACATE SCHEDULE
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                                3:16-CV-04300-JD
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            1              The parties wish to inform the Court that they reached a settlement in principle of the above-

            2      captioned action on November 28, 2018. The settlement is currently memorialized in a term sheet.

            3      The parties jointly request that the Court vacate the current scheduling order and all other upcoming

            4      hearings and deadlines. The parties are in the process of drafting a settlement agreement and

            5      companion motion for preliminary approval, under Federal Rule of Civil Procedure 23(b)(2). Subject

            6      to the Court’s approval, the parties respectfully request that the currently scheduled hearing on

            7      Plaintiffs’ contemplated motion for class certification on February 28, 2019 be converted to a hearing

            8      on the motion for preliminary approval of the settlement with that motion being filed no fewer than

            9      28 days prior to the hearing.

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                   Dated: November 29, 2018                       COOLEY LLP
          11                                                      MICHAEL G. RHODES (116127)
                                                                  JEFFREY M. GUTKIN (216083)
          12                                                      BENJAMIN KLEINE (257225)
                                                                  KRISTINE A. FORDERER (278745)
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          14
                                                                  /s/Michael Rhodes
          15
                                                                  Michael Rhodes (116127)
          16                                                      Attorneys for Defendant
                                                                  NIANTIC, INC.
          17

          18       Dated: November 29, 2018                       POMERANTZ LLP

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          20                                                      /s/Jeremy Lieberman

          21                                                      Jeremy A. Lieberman (pro hac vice)
                                                                  Murielle J. Steven Walsh (pro hac vice)
          22                                                      Aatif Iqbal (pro hac vice)
                                                                  Attorneys for Plaintiffs
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  COOLEY LLP                                                                       JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                   1.                     AND REQUEST TO VACATE SCHEDULE
                                                                                                          3:16-CV-04300-JD
                         Case 3:16-cv-04300-JD Document 115 Filed 11/29/18 Page 3 of 3



            1                               ATTESTATION OF CONCURRENCE IN FILING

            2             In accordance with N.D. Cal. L.R. 5-1(i)(3), I hereby attest that I have obtained the concurrence

            3      of all other signatories in the filing of this document.

            4       Dated: November 29, 2018                         COOLEY LLP

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            6
                                                                     By: /s/ Jeffrey M. Gutkin
            7                                                            Jeffrey M. Gutkin
            8                                                        Attorneys for Defendant
                                                                     NIANTIC, INC.
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  COOLEY LLP                                                                         JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
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